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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephen B. Jackson, Jr., U.S. Magistrate Judge
Criminal No. 3:22-cr-00059-SMR-SBJ-1        : Clerk’s Court Minutes – Arraignment
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United States of America vs. John Robert Muriello
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Gov. Atty(s): Clifford R. Cronk , III                     : ✔ Indictment      Superseding Indictment     Information
Def. Atty(s): Andrea D. Jaeger                             : Complaint        Warrant     Summons
Appearance: ✔ In Person            Video Conference : Code Violation/Offense:
         All Parties Consent to Video Proceeding : Ct. 1: 21:841(a)(1), 841(b)(1)(A), 846 Drug Conspiracy
Court Reporter: FTR-140                                    :
Interpreter: N/A                                           : Ct. 2: 18:2252(a)(4)(B), 2252(b)(2) Possession of Child
        Interpreter Sworn
___________________________________________________________
                                                             Pornography
Date: July 19, 2022
Initial Appearance Start Time:                      Arraignment Start Time: 12:01 pm End Time: 12:05 pm
_______________________________________________________________________________________________________________________________________
                                            Initial Appearance
✔ Defendant Advised of Rights:                          Rule 5 Admonition Given
  Advised of Consular Notification Rights               Requesting Consular Notification                          Yes     No
  Representation: Appointed FPD Appointed CJA Retained Counsel
  Next Court Event: Preliminary       Arraignment       Removal Hearing
        Set for:
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       _______________________________________________________________________________________________________________________________
                                               Arraignment
Trial Scheduled for: September 6, 2022       : ✔ Advised of Charges/Maximum Penalties
Rule 16 Material due: August 1, 2022         : ✔ Indicted in True Name
Reciprocal Discovery due: August 8, 2022     :         True Name:
Pretrial Motions due: August 16, 2022        : ✔ Reading of Indictment Waived
Plea Notification Deadline: August 16, 2022  :      Plea of Not Guilty Accepted as to Ct(s): 1 & 2
Plea Entry Deadline: August 23, 2022         : ✔ Denied Forfeiture
Status/Scheduling Conference (Counsel Only):     ✔ Defendant advised that failure to enter a plea by deadline
To be set by Judge Rose at a later date.     :      may negatively impact consideration and finding regarding
                                                    reduction in offense level based upon Acceptance of
                                                    Responsibility pursuant to USSG.
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                                                          Custody Status
   Government Moved for Detention                               Detention Hearing Set:
   Defendant Waived Preliminary Examination                      Before the Honorable:
   Defendant Waived Detention Hearing                                              Room:                 Video Conference
   Court Ordered Defendant: Released on Bond ✔ Detained
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The Defendant is remanded to USMS custody pending further proceedings.



                                                                                         /s/ S. Tomlinson
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                                                                                         Deputy Clerk
